4:04-cr-03081-RGK-DLP   Doc # 91   Filed: 08/23/05   Page 1 of 1 - Page ID # 712



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:04CR3081
          v.                        )
                                    )
BRIAN PARKER,                       )
                                    )                    ORDER
                Defendant.          )
                                    )




     IT IS ORDERED:

     The motion of Korey Reiman to withdraw as co-counsel for

defendant Parker is granted.


     DATED this 23rd day of August, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
